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                                              UNITED STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF FLORIDA

                                       CASE NO. 21-60125-CIV-SCOLA/GOODMAN

   JIANGMEN BENLIDA PRINTED
   CIRCUIT CO., LTD.,

   Plaintiff,

   v.

   CIRCUITRONIX LLC,

   Defendant.
   ____________________________________/




     CIRCUITRONIX, LLC’S REPLY IN SUPPORT OF ITS MOTION TO EXCLUDE OR
             LIMIT TESTIMONY OF PLAINTIFF’S REBUTTAL EXPERT




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              Benlida’s memorandum in opposition (DE 201) is long on irrelevant legal theories to
   backfill Benlida’s affirmative case and short on actual responses to the arguments raised in
   CTX’s motion to exclude or limit the “rebuttal” testimony of Randall Paulikens. This reply
   addresses the weaknesses in Benlida’s position that Paulikens’ opinions on damages and
   relatedness/control are proper rebuttal and admissible, as well as Benlida’s inappropriate attempt
   to expand on irrelevant legal theories (or to articulate brand-new ones).
         I.      PAULIKENS PROVIDES IMPROPER REBUTTAL TESTIMONY OFFERING
                 BENLIDA’S AFFIRMATIVE DAMAGES FIGURE AND CRITICIZING CTX’S
                 EXPERTS FOR OMITTING ANALYSIS RELATED TO CTX-HK
              The Court should reject Benlida’s bold contention that Paulikens offers “classic rebuttal
   testimony” (Benlida Response (“Resp.”) at 10 n.4) when he offers a damages number for
   Benlida’s affirmative case and criticizes CTX’s accounting experts for omitting discussion of
   CTX-HK in their analysis of CTX’s counterclaim. For all Benlida’s insistence in its two lengthy
   opening “Points” that CTX cannot claim surprise (id. at 2-10) or lack of notice (id. at 10-11)
   about Benlida’s attempt to recover on CTX-HK debts, Benlida ultimately fails to carry its burden
   of establishing that this testimony constitutes proper rebuttal. See Allison v. McGhan Med.
   Corp., 184 F.3d 1300 (11th Cir. 1999). This is so because Benlida’s untimely disclosure of
   Paulikens’ opinion on damages both advances Benlida’s affirmative case and does not respond to
   anything in Mukamal and Parisi’s report. It therefore masquerades as rebuttal, and because CTX
   suffered harm as a result, Paulikens’ report and testimony regarding Benlida’s damages should
   be excluded.
              Benlida bears the burden of proving the damages it seeks on its claims for breach of
   contract and account stated. See Isaac Indus., Inc. v. Petroquimica de Venezuela, S.A., No. 19-
   23113-CIV, 2023 WL 3845432, at *3 (S.D. Fla. June 6, 2023) (damages are an element of a
   claim for breach of contract; World Fuel Servs. (Singapore) Pte Ltd. v. Happy Cruises SA, No.
   11-24400-CIV, 2012 WL 1252525, at *2 (S.D. Fla. Apr. 13, 2012) (proof of an account stated
   claim requires “an express or implied agreement between the parties that a specified balance is
   correct and due and an express or implied promise to pay this balance”) (emphasis added).
   Benlida’s computation and proof of its own damages thus “logically belong[s] in [its] case-in-
   chief” and is not a proper subject for rebuttal testimony. In re Trasylol Prods. Liab. Litig., No.



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   09-01928, 2010 WL 4065436, at *2 (S.D. Fla. Aug. 6, 2010). Benlida cannot meet the burden of
   proof on its own damages by offering an opinion in rebuttal to CTX’s initial expert report.
              The fact that Paulikens offers a damages figure that is different from the nearly $13.5
   million amount specified in Benlida’s complaint directly contradicts Benlida’s claim that it is
   “not introducing any new damages on rebuttal” (Resp. at 15) and that “the complaint itself sets
   forth the basis for its claim of damages using simple math” (id. at 6). Compare DE 197-1
   (Paulikens Report) at 14 (determining Benlida’s damages are $3 to $8 million), and DE 201-3
   (Paulikens Depo. Tr.) at 64:15-18 (same), with DE 26 (TAC), ¶ 8 (seeking $13,655,335.93). If
   that were true, Paulikens opinion would simply reflect the TAC’s damages amount. His different
   conclusion that “Benlida is actually owed between $3 and $8 million dollars” (DE 197-1 at 14)
   proves that that Benlida needed an expert to articulate its affirmative evaluation of the case.
   Benlida was obligated but failed to disclose that new $3 to $8 million figure by the deadline to
   submit affirmative expert reports, and should be precluded from admitting that figure at trial.
              Benlida’s opposition also glosses over the fact that CTX-HK is an essential component to
   its damages claim, and that, by considering that CTX-HK component, Paulikens necessarily
   “adds new damages” beyond those calculated by Mukamal and Parisi without factoring CTX-
   HK. Kroll v. Carnival Corp., No. 19-23017-CIV, 2020 WL 4793444, at *5 (S.D. Fla. Aug. 17,
   2020) (holding that a report adding new damages is not proper rebuttal). Whether CTX could
   have anticipated that Benlida would seek to collect CTX-HK debts generally (and without an
   expert) (Resp. at 2-3) is irrelevant to CTX’s accounting experts’ report or to the Court’s
   resolution CTX’s motion to exclude Paulikens’ testimony. 1 CTX was under no obligation to
   develop through expert testimony—or preemptively rebut—a damages figure that factored a
   legally irrelevant component (CTX-HK) as part of CTX’s affirmative case. Nor could it have:
   Benlida never disclosed its damages computation nor underlying data detailing how Benlida
   employed a commingled-FIFO accounting methodology to allege that some invoices remain


   1
     Benlida’s focus on the legal nature of the issue of CTX’s supposed responsibility for CTX-HK
   debts (Resp. at 2-3) is irrelevant here. The parties agree that the question whether CTX is
   responsible for CTX-HK debts is one of law, not accounting. Indeed, their different answers to
   that question take up the better portion of the summary-judgment briefing. DE 184-1 at 6-11;
   DE 188 at 2-13. Benlida’s lengthy citations to CTX’s accounting experts’ testimony, in response
   to Benlida’s self-serving questions about the legal nature of the question (Resp. at 2-3), have no
   bearing on this motion to preclude Paulikens from offering non-responsive rebuttal testimony.


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   unpaid. 2 CTX’s experts cannot fairly be accused of strategically burying their heads in the sand
   (Resp. at 10) when they actually anticipated Benlida might submit expert testimony regarding
   CTX-HK which they would address in rebuttal. DE 197-2 at 3 n.4.
              That CTX’s counterclaim is related to Benlida’s affirmative case (Resp. at 11) does not
   relieve Benlida of the obligation to submit an expert report or give Benlida the right to ambush
   CTX with an affirmative damages number (belatedly) developed in rebuttal. While a rebuttal
   expert is allowed to present evidence that contradicts or rebuts evidence on the same subject
   matter identified by another party, and the “same subject matter” is broadly construed, the term
   is not boundless. Lebron v. Royal Caribbean Cruises, Ltd., No. 16-24687-CIV, 2018 WL
   3583002, at *2 (S.D. Fla. July 26, 2018). Rebuttal testimony must still “directly address an
   assertion raised by an opponent’s experts” and cannot be used to advance new arguments or
   present new evidence. Id. Paulikens’ consideration of CTX-HK—analyzing a component of
   Benlida’s damages that Mukamal and Parisi reasonably deferred discussing until Benlida
   presented its calculation—does not directly address any assertion raised by CTX’s experts and
   therefore constitutes improper rebuttal.
              Additionally, Benlida’s counter that any affirmative expert report was unnecessary
   because it would have consisted of one sentence relaying “simple math” (Resp. at 4), is not
   credible given Paulikens’ own contrary deposition testimony indicating the considerable amount
   of expert work to be done in an affirmative report. DE 201-3 at 51-57. Far from the simplistic
   formula Benlida describes, Paulikens testified that computing a formal calculation of Benlida’s
   damages would require “look[ing] at accounts receivable” (id. at 56:13-14), reviewing “tens and
   tens of thousands of pages” (id. at 56:23-7), and “diligently go[ing] through the …
   reconciliation” (id. at 57:9-11); see also id. at 51:20-52:11 (“to come to a precise number that
   Benlida is entitled to … you’d have to do a fairly detailed calculation which incorporates an
   analysis in reconciliation of the accounts receivable from day one, in order to come to the



   2
     There is no dispute that ordinary FIFO accounting can, in certain circumstances, be
   appropriate. But see Resp. at 4 (misrepresenting that CTX has asserted FIFO bookkeeping is
   inappropriate). The problem with Benlida’s use of FIFO is that it apparently applied CTX
   payments indiscriminately to the oldest debts in its book for both CTX and CTX-HK—without
   informing CTX of the fact. See DE 184-1 at 14-15; DE 193 at 6-10. While that practice came to
   light belatedly during Benlida’s witnesses’ depositions, the precise details surrounding its
   implementation on a payment-and-invoice-specific basis remain undisclosed.

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   specific finite numbers at a point in time …. Plus … you need to start from day one ….”).
   A review of the data from the parties’ reconciliation of accounts in 2019 might require sifting
   through “a great deal of underlying data” (id. at 57:14-58:17), including invoices, debit memos,
   and payment records (id. at 58:18-59:17). That work might in turn be complicated by missing or
   incomplete data sets. Id. at 59:21-60:8. The process would be “[s]imilar” to the back-and-forth
   reconciliation performed by the parties and “potentially” require a granular level of review. Id.
   at 53:12-54:16. In short, a formal calculation of damages would have been “an undertaking.” Id.
   at 57:13. Benlida cannot credibly say otherwise to excuse its failure timely to submit an initial
   expert report.
              Courts in this Circuit have implicitly rejected Benlida’s oversimplified view of this sort
   of testimony from an accounting expert. They routinely allow admission and recognize the value
   of damages opinions from accounting experts who, aside from providing an ultimate damages
   figure, can also assist a jury by explaining “the information [an accountant] extracted from the
   books and records, how such information was recorded, the interpretation of the information, and
   what information was absent from the books and records.” Lehman v. Eldridge, No. 11-23973-
   CIV, 2013 WL 12064124, at *2 (S.D. Fla. Dec. 11, 2013) (Rosenbaum, J.) (refusing to strike
   expert “merely because arithmetic is one of many components of the Report and testimony”); see
   Lord v. Univ. of Miami, No. 13-22500-CIV, 2022 WL 18023293, at *10 (S.D. Fla. July 26, 2022)
   (Altonaga, C.J.) (rejecting that certified public accountant’s expert opinions on equity-asset sales
   were “the result of straightforward arithmetic calculations that d[id] not require special expertise
   and thus would not assist the jury”; citing City of Tuscaloosa v. Harcros Chems., Inc., 158 F.3d
   548, 563–64 (11th Cir. 1998), to conclude that a damages expert’s opinion would assist the trier
   of fact “‘by calculating, compiling, and explaining’” numerical evidence relevant to liability).
              Ignoring the importance of this testimony for its case in chief, Benlida elected not to
   submit an affirmative expert report because it felt that “it doesn’t take an expert to add up the
   invoices forming Benlida’s affirmative damages claim.” Resp. at 9. That was Benlida’s (poor)
   strategic decision. Benlida may not properly employ Paulikens to testify on the subject.
              Apart from Benlida’s implausible assertion that its damages number is so simple as to not
   require an expert report, it has made little effort to satisfy its burden of showing that its failure to
   timely disclose Paulikens and his affirmative damages opinion was substantially justified or
   harmless such that it can avoid the sanction of exclusion under Rule 37(c). While “surprise to


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   the party against whom the evidence would be offered” is a factor to consider in evaluating an
   untimely disclosure, United States v. Twenty-Nine Pre-Columbian & Colonial Artifacts from
   Peru, No. 13-21697-CIV, 2015 WL 457860, at *2 (S.D. Fla. Feb. 3, 2015) (Goodman, J.),
   Benlida cannot avoid the exclusion of Paulikens’ testimony simply because CTX was generally
   aware that Benlida would attempt to make a case for CTX’s responsibility for CTX-HK debts.
   That argument does not account for the fact that CTX was still in the dark about how Benlida
   would attempt to do so due to Benlida’s disclosure omissions. And both parties’ experts agree
   that the analysis is data-intensive. See DE 201-3 at 51-57; e.g., DE 201-1 (Parisi Depo. Tr.) at
   15:9-12, 255:7-256:2; DE 201-2 (Mukamal Depo. Tr.) at 66:16-67:1. CTX could not possibly
   have foreordained the analysis Benlida’s expert would use to compute its damages. That’s why
   Mukamal and Parisi disclosed their intention to prepare a rebuttal report once Benlida disclosed
   its expert’s opinions. Those never came, depriving CTX of the opportunity to meaningfully
   respond to Paulikens’ expert analysis in kind, with its own accounting experts. CTX has
   therefore been prejudiced. The complicated and document-intensive nature of the parties’ long-
   standing business relationship also undermines any potential argument that any harm was cured
   by CTX’s opportunity to have deposed Paulikens.
              The closest Benlida comes to confronting its burden in response to CTX’s arguments that
   the untimely expert disclosure was neither substantially justified nor harmless, is to plop into its
   response—without explanation or analysis—block quotes from three of this Court’s decisions.
   See Resp. at 6-7 (quoting Ore v. Tricam, Indus., No. 14-60269-Civ-Scola, 2017 WL 6597517
   (S.D. Fla. Oct. 16, 2017), FTC v. On Point Global LLC, No. 19-25046-Civ-Scola, 2021 WL
   4891334 (S.D. Fla. Sept. 23, 2021), and Ramones v. Experian Info. Solns., LLC, No. 19-62949-
   Civ-Scola, 2021 WL 4050874, at *5 (S.D. Fla. Sept. 4, 2021)). Benlida ostensibly means to use
   them to support its proposition that CTX had sufficient notice of Benlida’s computation of
   damages. See id. at 6.
              None of these cases, however, involves a motion seeking to preclude the use of
   undisclosed damages computations, much less expert testimony supplying an independent basis
   for a damages figure. Because Benlida’s damages amount will figure prominently at trial,
   Benlida’s failure to disclose that amount in an affirmative report deprives CTX of the “ability to




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   prepare a targeted defense” and affects “the fairness of the trial.” Vital Pharms., Inc. v. Monster
   Energy Co., No. 21-13264, 2022 WL 3083273, at *4 (11th Cir. Aug. 3, 2022). 3
              Allowing Paulikens’ damages testimony would undermine Rule 26’s animating goal “‘to
   provide opposing parties reasonable opportunity to prepare for effective cross examination and
   perhaps arrange for expert testimony from other witnesses.’” Twenty-Nine Pre-Columbian &
   Colonial Artifacts, 2015 WL 457860, at *1 (quoting OFS Fitel, LLC v. Epstein, Becker and
   Green, P.C., 549 F.3d 1344, 1363 (11th Cir. 2008)).
       II.    BENLIDA’S NON-RESPONSIVE, NEW LIABILITY THEORY IS
              PROCEDURALLY IMPROPER AND LACKS MERIT
              Rather than engage with CTX’s actual arguments to exclude Paulikens’ testimony as
   improper rebuttal, Benlida advances a brand-new theory of liability to support its claims,
   essentially submitting an impermissible summary judgment sur-reply that “remind[s] the Court”
   of its old summary-judgment arguments and “further note[s]” some new ones. Resp. 7. This
   non-responsive tactic not only should be rejected as procedurally improper, but also lacks merit.
              For the very first time in this litigation, Benlida contends that CTX-US is responsible for
   CTX-HK’s debts because “CTX-US made itself a co-signer on all debts incurred by CTX-HK.”
   Id. (emphasis removed). This co-signer theory of liability never appeared in any iteration of any
   pleading in this case. Nor did it even belatedly appear in Benlida’s response to CTX’s motion
   for summary judgment. As a result, no discovery was taken on this previously undisclosed
   theory.
              Benlida’s attempt to inject this new liability theory into the case at such a late stage is
   clearly improper and prejudicial. Eleventh Circuit precedent forbids “amend[ing] [a] complaint
   through argument in a brief opposing summary judgment.” Gilmour v. Gates, McDonald & Co.,
   382 F.3d 1312, 1314-15 (11th Cir. 2004); see Li v. Walsh, No. 16-81871-CIV, 2022 WL 892703,
   at *4 (S.D. Fla. Feb. 18, 2022) (“Simply put, raising a new legal claim or theory for the first time
   at the summary judgment stage is improper.”); Cruz v. Advance Stores Co., 842 F. Supp. 2d
   1356, 1360 (S.D. Fla. 2012) (“[A] party may not raise a new theory for the first time in response
   to a summary judgment motion.”). It follows from that principle that a brief in response to a



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     CTX incorporates by reference the more detailed argument it makes to distinguish these cases
   in its reply in support of its omnibus motion. See CTX’s Reply in Support of Its Omnibus
   Motion at 2-3.

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   motion in limine cannot amend a complaint with a new theory of liability either. See Gatewood
   v. Frency’s Corp., Inc., No. 8:16-CV-340-T-36AAS, 2017 WL 4861352, at *9 n.7 (M.D. Fla.
   Sept. 19, 2017) (rejecting a plaintiff’s “new theory made in response to a motion in limine” as it
   was “unsupported by the pleadings”).
              Benlida also misplaces its reliance on Johnson v. City of Shelby, 574 U.S. 10, 12 (2014),
   and its progeny to argue that it was not required to specify a legal theory in its complaint. Resp.
   10-11 (quoting Houston Specialty Ins. Co. v. Titleworks of Sw. Fla., Inc., No. 2:15-cv-219, 2017
   WL 2600723 (M.D. Fla. June 15, 2017)). Johnson involved a hyper-technical failure to
   reference a statutory section in a complaint, not the injection of a brand-new theory of liability at
   summary judgment or in a pre-trial motion. See Freeman v. HSBC Holdings PLC, 57 F.4th 66,
   83–84 (2d Cir. 2023) (distinguishing Johnson because “the plaintiffs had simply failed to
   identify 42 U.S.C. § 1983 in an action asserting violations of their constitutional rights”). Courts
   have therefore limited Johnson to “the motion to dismiss stage,” and “refused to apply Johnson
   to summary judgment cases.” Ohio State Univ. v. Redbubble, Inc., 989 F.3d 435, 445 (6th Cir.
   2021). And in rejecting an argument much like Belida’s, the Eleventh Circuit has held that “a
   defendant is not required to infer all possible claims that could arise out of the facts set forth in
   the complaint at the summary judgment stage,” and thus affirmed summary judgment in favor of
   the defendant when the plaintiff neither raised a particular theory in his complaint nor sought
   leave to amend the complaint to add the theory. Brisk v. Shoreline Found., Inc., 654 F. App'x
   415, 417-18 (11th Cir. 2016). 4
              Permitting Benlida to raise its brand-new co-signer theory of liability at this late stage
   would also unduly prejudice CTX. In re Zantac (Ranitidine) Prod. Liab. Litig., No. 20-MD-
   2924, 2021 WL 2685605, at *11 (S.D. Fla. June 30, 2021) (“The introduction of new legal
   theories at a later stage of proceedings amounts to undue prejudice.”). Without any prior notice
   of the theory, CTX has had no chance to conduct discovery to dispute it. Such trial-by-ambush
   tactics are precisely what the pleading and discovery rules are designed to prevent. See, e.g.,
   First Baptist Ferry Pass Inc. v. W. World Ins. Co., No. 3:21CV544/MCR/ZCB, 2023 WL
   4364403, at *6 (N.D. Fla. July 6, 2023) (“The primary purpose of the discovery rules is to ensure


   4
     Johnson does not apply here, where Benlida failed to (1) allege any facts in the TAC supporting
   its theory that CTX could be liable for CTX-HK debts, much less (2) include any specific
   allegations regarding the 2016 Letter Agreement, from which its new co-signer theory arises.

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   the parties are on notice of certain information possessed by the opposing party, so as to
   eliminate surprise and trial by ambush.”) (internal quotation marks omitted); K3 Enters., Inc. v.
   Sasowski, No. 20-24441-CIV, 2022 WL 3306725, at *5 (S.D. Fla. Aug. 11, 2022) (prohibiting
   plaintiff from presenting undisclosed damages calculations because allowing it “would be to
   endorse trial by ambush”); Dorvil v. Nationstar Mortg., LLC, No. 17-23193-CIV, 2020 WL
   9065875, at *2 (S.D. Fla. Feb. 13, 2020) (“The Court cannot and will not sanction trial by
   ambush.”). This court, therefore, should prohibit Benlida from presenting its unpled and
   untimely co-signer theory of liability at trial.
              In addition to its procedural infirmity, Benlida’s new theory lacks factual and legal
   support. The 2016 Letter Agreement states that CTX-HK “will join in this Agreement.”
   DE 177-1 at 24. Based entirely on this provision, Benlida leaps to the conclusion that “CTX-US
   made itself a co-signer on all debts incurred by CTX-HK.” Resp. at 7. But nothing in the
   document remotely suggests that CTX accepted responsibility for CTX-HK’s past or future
   debts. Nor does any testimony from any witness indicate that the parties intended for the
   document to accomplish such a result. The record is devoid of even a shred of evidence
   supporting Benlida’s new co-signer theory.
              Nor does any legal principle bridge the massive gap between the agreement’s actual
   language and Benlida’s new claim of joint liability. The only decisions that Benlida cites
   applying Florida law, which governs this dispute, do not support Benlida’s argument. In WBDH-
   BC Holdings Ltd. V. Varsatel Corp., No. 21-61463-CIV, 2022 WL 3701452, at *9 (S.D. Fla.
   June 16, 2022), the guaranty at issue included language permitting the plaintiff to “demand full
   payment” from various parties—i.e., precisely the language that is missing here. 5 Likewise, In
   re Hall, No. 6:19-BK-00687-KSJ, 2019 WL 10734083, at *3 (Bankr. M.D. Fla. Oct. 3, 2019),
   involved an explicit agreement among two parties to “co-sign [a] loan” for a motorcycle, under
   which both parties “assumed the full legal obligation to pay it.” No language in the 2016
   agreement, in contrast, comes close to suggesting that CTX-US co-signed or assumed any
   obligation for CTX-HK’s purchase orders.



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     WDBH-BC relied on Brackin Tie, Lumber & Chip Co. v. McLarty Farms, Inc., 704 F.2d 585,
   586 (11th Cir. 1983), which applied Georgia law and is inapplicable for the same reason—the
   lease agreement contained language making numerous parties “jointly liable,” unlike the
   agreement here.

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              Lacking support from Florida law, Benlida resorts to cases from other jurisdictions and
   secondary sources, none of which Florida courts have adopted, and none of which apply. Resp.
   at 7-9. For example, Thomas v. Cap. Med. Mgmt. Assocs., LLC, 189 Md. App. 439, 458, 985
   A.2d 51, 63 (2009), involved an “implied in fact contract,” not the interpretation of contractual
   language in any way resembling the 2016 agreement. Likewise, Trinity Universal Ins. Co. v.
   Drake, 587 S.W.2d 458, 465 (Tex. Civ. App. 1979), aff’d in part, rev’d in part, 600 S.W.2d 768
   (Tex. 1980), simply observed that co-signing a note or contract can give rise to joint and several
   liability, but it provides no support for Benlida’s evidence-free claim that CTX co-signed CTX-
   HK’s debts or purchase orders. Finally, sections 288 and 289 of the Restatement (Second) of
   Contracts do not help Benlida because they concern contracts in which multiple parties “promise
   the same performance to the same promisee,” § 289(1), a condition that is not satisfied here.
   CTX-US and CTX-HK submitted separate purchase orders to Benlida, and Benlida issued the
   different entities separate invoices, providing clear evidence that CTX and CTX-HK did not
   make a singular promise of the “same performance” to Benlida, § 288(2). And in contrast to the
   default rule of joint liability that Benlida seeks to impose, Florida courts refuse to enforce such
   liability absent “specific language subjecting the signor to joint and several liability in the event
   of a breach,” Porlick, Poliquin, Samara, Inc. v. Compton, 683 So. 2d 545, 547 (Fla. Dist. Ct.
   App. 1996), which the agreement here indisputably lacks. On the merits, therefore, Benlida’s
   new theory of liability is unavailing.
    III.      BENLIDA HAS FAILED TO CARRY ITS BURDEN TO ADMIT PAULIKENS’
              OPINION REGARDING CTX’S SUPPOSED RELATEDNESS AND SUPPOSED
              CONTROL OVER CTX-HK
              Benlida’s statements that a “related-party analysis is the typical domain of an accountant”
   (Resp. at 15), and that such testimony is “highly relevant” (id. at 16), do not overcome CTX’s
   targeted criticisms that Paulikens’ opinions about relatedness and control are improper rebuttal,
   inappropriately advance legal conclusions, lack proper foundation, and carry a risk of confusion
   and prejudice.
              First, by addressing only Paulikens’ opinion regarding relatedness, Benlida wholly fails
   to respond to CTX’s arguments about the inappropriate legal nature and lack of foundation for
   Paulikens’ opinion regarding CTX’s supposed control of CTX-HK. Mot. at 15-16. Benlida has
   no answer for Paulikens’ admission at deposition that his control opinion addresses a legal issue



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   or for the lack of record support for his general sense that CTX controlled CTX-HK. Id.
   Because Benlida concedes the point, this opinion should be excluded.
              Second, Benlida’s insistence that the relatedness and control opinions are “relevant” does
   not get it past Rule 403, which contemplates the exclusion of even relevant evidence when the
   interest in admission is outweighed by countervailing risks of jury confusion or presenting
   cumulative evidence. See Fed. R. Evid. 403; U.S. v. Frazier, 387 F.3d 1244, 1263 (11th Cir.
   2004) (“Because of the powerful and potentially misleading effect of expert evidence, sometimes
   expert opinions that otherwise meet the admissibility requirements may still be excluded by
   applying Rule 403.”). Benlida does not offer any basis for dismissing CTX’s concern that
   Paulikens’ testimony is unduly cumulative of other testimony or that it may cause juror
   confusion between the factors relevant for determining control in the legal versus the accounting
   spheres. Mot. at 16-18.
              Finally, Benlida does not confront CTX’s argument that, even if injecting CTX-HK into
   the damages analysis in rebuttal were appropriate (and it is not), Paulikens’ commentary about
   CTX’s relatedness and control goes a step too far for a rebuttal report. Mot. at 11 & n.5. Both
   cases Benlida cites to support the use of a related-party analysis involved situations where a
   party retained an expert to opine in the case in chief. See Resp. at 15-16 (citing SEC v. Das, 723
   F.3d 943, [948-51] (8th Cir. 2013); As Astra Recovery Servs., Inc. v. Heath, No. 18-1145-JWB,
   2021 WL 1140368, *6 (D. Kan. Mar. 25, 2021)). Where Benlida purports that it retained
   Paulikens “solely to contradict or rebut evidence,” Fed. R. Civ. P. 26(a)(2)(D)(ii), advanced by
   CTX’s experts, his opinions about CTX’s control over and relatedness to CTX-HK have no place
   in ostensible rebuttal of a report by CTX’s experts that omitted (and properly deferred)
   discussion of CTX-HK.
                                                                  CONCLUSION
              Benlida’s attempt to support its affirmative case in an untimely and non-responsive
   rebuttal report, and to use its response to a motion in limine directed at that expert testimony to
   try to inject new legal theories for its liability case, should be rejected. The Court should grant
   CTX’s motion to exclude or limit Paulikens’ testimony.




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   Dated: August 29, 2023                                                                         Respectfully submitted,

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                                                      CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that a true copy of the foregoing has been served via transmission of

   Notices of Electronic Filing generated by CM/ECF on August 29, 2023 as filed with the Clerk of the

   Court using CM/ECF.


                                                                                                  By: /s/ Stephen F. Rosenthal         .
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